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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

 SUSAN PHILLIPS and JEFFREY                        )
 PHILLIPS, administrators of the estate of         )
 MATTHEW PHILLIPS, deceased,                       )
                                                   )
                                 Plaintiffs,       )    No. 22 C 1048
                                                   )
                        v.                         )    Judge Wood
                                                   )
 UNITED STATES OF AMERICA,                         )
                                                   )
                                 Defendant.        )

                             JULY 2024 JOINT STATUS REPORT

         Pursuant to the court’s May 9, 2024 minute entry (Dkt. 38), the parties jointly submit the

following status report:

  I.     Status of United States v. Simonson, et al., 21 CR 50064 (N.D. Ill.)

         On June 27, 2024, Judge Iain Johnston entered an order setting the criminal case for trial

to commence on May 5, 2025, anticipated to last the entire month of May. No. 21 CR 50064, Dkt.

188.

 II.     Modification or Lift of the Stay

         Plaintiffs in this case have now filed a motion requesting a modification or lifting of the

stay that was imposed by the Court on January 24, 2023. Dkt. 39. Subject to the court’s approval,

the parties have agreed on the following briefing schedule on that motion: Defendant’s response

due on or before August 7, 2024; plaintiff’s reply if any due on or before August 14, 2024.

III.     Status Hearing

         Finally, the parties do not request a status hearing at this time.
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Respectfully submitted,

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